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                                      MINUTES



 CASE NUMBER:            1:17-cr-00101-LEK-1
 CASE NAME:              United States v. Anthony T. Williams


       JUDGE:      Leslie E. Kobayashi

       DATE:       07/23/2019


COURT ACTION: EO: COURT ORDER DENYING DEFENDANT’S MOTION FOR
INJUNCTION AGAINST THE FDC FOR RETALIATION

       Before the Court is pro se Defendant Anthony T. Williams’s (“Defendant”)
Motion for Injunction Against the FDC for Retaliation (“Motion”). [Dkt. no. 479.]
Plaintiff the United States of America (“the Government”) filed its memorandum in
opposition on June 3, 2019. [Dkt. no. 502.] The Court finds the Motion suitable for
disposition without a hearing pursuant to Local Rule 7.2(d).

       When he filed the Motion, Defendant was being held in the Special Housing Unit
(“SHU”) of the Federal Detention Center – Honolulu (“FDC Honolulu”). [Motion at 2;
mem. in opp., Decl. of Jandi Lum (“Lum Decl.”) at ¶ 9 (stating Defendant was sent to the
SHU on 4/10/19), ¶ 11 (stating Defendant’s release from the SHU was scheduled for
6/3/19).] The Motion seeks various relief: 1) his immediate release from the SHU; 2) the
release of all other inmates in the SHU who have been there for more than thirty days;
3) an injunction prohibiting FDC Honolulu from issuing false disciplinary reports against
him; 4) the expungement of a disciplinary report that Defendant alleges is false; and 5) an
order requiring FDC Honolulu to allow him access to the law library, his discovery disks,
and other materials necessary to his defense while he is held in the SHU. [Motion at 2-3.]

       Only Defendant’s request number 5 is properly before this Court. To the extent
Defendant wishes to pursue request numbers 1, 2, 3 or 4, he must follow the appropriate
administrative procedures and/or file a civil rights action or a 28 U.S.C. § 2241 petition.
Thus, the Motion is DENIED as to request numbers 1-4. Accord Order Denying Def.’s
“Appeal and Request to District Court to Reconsider a Pretrial Matter Determined by the
Magistrate Judge,” filed 10/3/18 (dkt. no. 347), at 7-8 (denying appeal as to arguments
including Defendant’s claim that he was not responsible for the infraction that resulted in
a 2018 SHU confinement). This Court makes no findings or conclusions about request
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numbers 1-4 and expresses no opinion regarding whether an administrative
complaint/appeal, a civil rights action, or a § 2241 petition seeking such relief would have
merit.

       To the extent the Government argues Defendant has not exhausted his
administrative remedies as to request number 5, this Court declines to address that
argument. Even if Defendant has exhausted his administrative remedies, his request
would be denied. As this Court has previously stated on numerous occasions, in
considering the instant Motion, “this Court need only determine whether Defendant is
being provided with the constitutionally required access to the resources necessary to
prepare his defense.” See, e.g., Order Denying Def.’s Fifth Motion for Order to Show
Cause & Request for Expedited Hearing, filed 11/21/18 (dkt. no. 386), at 4 (citation and
quotation marks omitted). The Government has presented evidence that inmates in the
SHU have access to a law library room, where they can, inter alia, view discovery, use a
typewriter, and conduct legal research. A SHU inmate can make a verbal or written
request to use the law library room. [Lum Decl. at ¶¶ 5-6.] However, since his April 10,
2019 placement in the SHU, Defendant did not make any requests to use the law library
room. Further, other inmates requested access to, and used, the law library room during
that same period. [Id. at ¶¶ 9-10, Exh. B (SHU law library room log) at 6.] Defendant
has not presented any evidence contesting the evidence presented by the Government.
The Court finds that the resources necessary for Defendant to prepare his defense were
made available to him while he was held in the SHU, during the period beginning on
April 10, 2019. Defendant’s Motion is therefore DENIED as to request number 5.

      Any argument or request not specifically addressed in this entering order is also
denied. Defendant’s Motion is therefore DENIED in its entirety.

       IT IS SO ORDERED.




Submitted by: Theresa Lam, Courtroom Manager
